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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
CANOPIUS US INSURANCE, INC. §
§
Plaintiff, §
§
Vv. § CIVIL ACTION NO. H-13-1624
§
TOM WYATT, et al. §
§
Defendants. §

ORDER

Pending before the Court is Plaintiff's Motion for Summary Judgment (Instrument No.
23).

1.
A.

Plaintiff Canopius US Insurance, Inc. (“Canopius”) originally brought this action for
declaratory judgment in federal court on June 3, 2013, seeking a finding that Canopius has no
obligation to defend or indemnify Defendant Tom Wyatt under the terms of Canopius’s
insurance policies. (Instrument No. 1). Canopius brought suit against Tom Wyatt, d/b/a Blue
Ocean Club a/k/a Club ICU (“Wyatt”), Debra Steward and Curtis Steward, Individually and as
Representatives of the Estate of Curtis Steward III, and Kimberly Kibble as next friend of C.S.
and L.S., minors (collectively “the Steward family”). (Instrument No. 1 at 2). The Steward
family is not party to the insurance policy that is the subject of this action, but the family
members have been named as defendants by Canopius in an effort to bind them to the judgment

of the Court. (Instrument No. 1 at 3).
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B.

Canopius’s declaratory judgment action involves claims arising from a shooting at
Wyatt’s establishment that occurred on September 2, 2012. Following the shooting, the Steward
family filed suit against Wyatt in Debra and Curtis Steward, Individually and as Representatives
of the Estate of Curtis Steward III and Kimberly Kibble as next friend to C.S. and L.S., Minors
vs. Tom Wyatt D/B/A/ Blue Ocean Club A/K/A Club ICU in the 125th Judicial District Court of
Harris County, Texas (hereinafter the “Underlying Action’). (Instrument No. 1-7).

In the original petition filed in state court, the Steward family alleges that in September
2012, Defendant Wyatt owned a nightclub called Club ICU in Harris County, Texas. Wyatt
owned, operated, and controlled the operation of Club ICU. Wyatt did not hire or retain any
security on Club ICU premises. On or about September 2, 2012, a fight involving Club ICU
patrons broke out in the parking lot. Wyatt was on the premises at the time and attempted to
break up the fight with an electric Taser that he owned. Wyatt did not contact law enforcement
for assistance in breaking up the fight. (Instrument No. 1-7 at 3).

As the fight escalated, “Scooby,” a patron of Club ICU and a relative of Wyatt, drew a
gun. Curtis Steward and a friend attempted to wrestle the weapon away from Scooby’s hand.
However, Scooby shot and mortally wounded Curtis Steward and his friend in the Club ICU
parking lot, and went on to shoot four other people. Wyatt did nothing personally to stop the
shooter. (Instrument No. 1-7 at 4). The shooting death of Curtis Steward at Club ICU resembled
a previous shooting death in the Club ICU parking lot in 2008. After the shooting death in 2008,
Wyatt did not hire security for Club ICU or take steps to warn patrons of any potential danger.

(Instrument No. 1-7 at 4).
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In the Underlying Action, the Steward family alleges claims of negligence, gross
negligence, and premises liability arising from the September 2, 2012 shooting. (Instrument No.
1-7 at 3). The Steward family seeks actual damages resulting from the Wyatt’s conduct and
exemplary damages for Wyatt’s negligence, gross negligence, and reckless disregard for the
safety of the public. (Instrument No. 1-7 at 9).

Cc.

The alleged duty to defend and indemnify in the Underlying Action is based on
Commercial General Liability Policy No. OUSO11002129 (hereinafter the “Policy”). (Instrument
No. 1-4). The Policy was the fourth such policy Canopius issued to Wyatt. Canopius issued
Wyatt Policy No. OUSO011000527 (the “First Policy”), effective August 14, 2009 to August 14,
2010. (Instrument No. 1-1). The following year, Canopius issued Policy No. OUSO11000944
(the “Second Policy”) as a renewal of the First Policy, effective August 14, 2010 to August 14,
2011. (Instrument No. 1-2). The following year, Canopius issued Policy No. OUSO1001435 (the
“Third Policy”) as a renewal of the Second Policy, effective August 14, 2011 to August 14,
2012. (Instrument No. 1-3). The Fourth Policy was issued as a renewal of the Third Policy,
effective August 14, 2012 to August 14, 2013. (Instrument No. 1-4). There are no material
differences between the policies. See (Instrument Nos. 1-1, 1-2, 1-3, 1-4).

On May 16, 2013, Canopius issued a Reservation of Rights to Wyatt stating that
Canopius will defend Wyatt in the Underlying Action subject to the express understanding that it
reserves all rights it may have under the Policy and does not waive any such rights by defense of
the Underlying Action. (Instrument No. 1-8 at 2). Canopius explicitly reserved the right to

withdraw its qualified defense in the Underlying Action at any time. (Instrument No. 1-8 at 2).
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Canopius claims that it has no duty to defend or indemnify Wyatt in the Underlying
Action because an “Assault and/or Battery Exclusion Endorsement” (the “Exclusion”) that
excludes coverage on claims resulting from assault or battery. (Instrument No. 23 at 10). The
applicable Exclusion states as follows:

The coverage under this policy does not apply to any claim, suit, cost or expense

arising out of assault and/or battery, or out of any act or omission in connection

with the prevention or suppression of such acts, whether caused by or at the

instigation or direction of any Insured or Insured’s employees, patrons or any

other person. Nor does this insurance apply with respect to any charges or

allegations of negligent hiring, training, placement or supervision. Furthermore,

assault and/or battery includes “bodily injury” resulting from the use of
reasonable force to protect persons or property. The sentence “This exclusion

does not apply to “bodily injury” resulting from the use of reasonable force to

protect persons or property” is deleted from the Commercial General Liability
Coverage Form, Section I, Item 2., Exclusions, a.

(Instrument No. 23-16 at 2).

Canopius alleges that Wyatt and Canopius agreed to the Exclusion prior to issuing the
policies, and that the Exclusion is included in all of the applications, quotes, and binders for the
four commercial insurance policies issued by Canopius to Wyatt. (Instrument No. 23 at 6).
Canopius acknowledges that the Exclusion is absent from the relevant Policy, but claims that its
absence is due to a scrivener’s error. (Instrument No. 23 at 13). Canopius therefore seeks to
reform the Fourth Policy to reflect the parties’ allegedly true agreement and include the
Exclusion. (Instrument No. 23 at 10). Canopius alleges that because the Underlying Action stems
from the assault or battery of victims of the September 2, 2012 shooting at Wyatt's
establishment, any claims in the Underlying Action fall within the Exclusion and outside of the
coverage of the reformed Fourth Policy. (Instrument No. 23 at 16). Canopius claims that it
therefore has no duty to defend. (Instrument No. 23 at 16). Furthermore, Canopius claims that it
has no duty to indemnify because there are no claims that can be brought in the Underlying

Action that would fall within coverage of the reformed Fourth Policy. (Instrument No. 23 at 17).
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Canopius also claims that it has no duty to defend because the Fourth Policy is void due
to Wyatt’s material misrepresentation. (Instrument No. 23 at 17). Canopius alleges that while
completing the commercial insurance application for Canopius in 2009 prior to the issuance of
the First Policy, Wyatt failed to disclose a murder that occurred at Wyatt’s establishment in
2008. (Instrument No. 23 at 18). Canopius further claims that Wyatt failed to disclose the 2008
murder on the application despite knowing that Canopius would rely on the application in
deciding whether to issue an insurance policy, and that Canopius would not have issued an
insurance policy if it had been aware of the 2008 murder. (Instrument No. 23 at 18-19).
Canopius therefore claims that Wyatt’s failure to disclose constitutes a material
misrepresentation, and the First Policy and the three subsequent renewals should be declared
void ab initio. (Instrument No. 23 at 19).

Canopius has filed a motion for summary judgment (Instrument No. 23) and the Steward
family has filed a response (Instrument No. 25). Canopius has filed a reply. (Instrument No. 26).

Il.

Summary judgment is appropriate “if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the affidavits, if any, show that there is no
genuine issue as to any material fact and that the moving party is entitled to judgment as a matter
of law.” Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Warfield v.
Byron, 436 F.3d 551, 557 (Sth Cir. 2006).

The “movant bears the burden of identifying those portions of the record it believes
demonstrate the absence of a genuine issue of material fact.” Triple Tee Golf, Inc. v. Nike, Inc.,
485 F.3d 253, 261 (Sth Cir. 2007) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 322-25(1986)).

“A fact is ‘material’ if its resolution in favor of one party might affect the outcome of the lawsuit
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under governing law.” Sossamon v. Lone Star State of Tex., 560 F.3d 316, 326 (Sth Cir. 2009).
An issue is “genuine” if the evidence is sufficient for a reasonable jury to return a verdict for the
nonmoving party. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

If the burden of proof at trial lies with the nonmoving party, the movant may satisfy its
initial burden by “showing --- that is, pointing out to the district court — that there is an absence
of evidence to support the nonmoving party’s case.” Celotex, 477 U.S. at 325. While the party
moving for summary judgment must demonstrate the absence of evidence to support the
nonmovant’s case, the movant does not need to negate the elements of the nonmovant’s case.
Boudreaux v. Swift Transp. Co., 402 F.3d 536, 540 (Sth Cir. 2005) (citation omitted). “If the
moving party fails to meet [its] initial burden, the motion [for summary judgment] must be
denied, regardless of the nonmovant’s response.” United States v. $92,203.00 in U.S. Currency,
537 F.3d 504, 507 (Sth Cir. 2008) (quoting Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (Sth
Cir. 1994) (en banc)).

After the moving party has met its burden, in order to “avoid a summary judgment, the
nonmoving party must adduce admissible evidence which creates a fact issue concerning the
existence of every essential component of that party’s case.” Thomas v. Price, 975 F.2d 231, 235
(Sth Cir. 1992). The party opposing summary judgment cannot merely rely on the contentions
contained in the pleadings. Little, 37 F.3d at 1075. Rather, the “party opposing summary
judgment is required to identify specific evidence in the record and to articulate the precise
manner in which that evidence supports his or her claim,” Ragas v. Tennessee Gas Pipeline Co.,
136 F.3d 457, 458 (Sth Cir. 1998); Baranowski v. Hart, 486 F.3d 112, 119 (Sth Cir. 2007).
Although the court draws all reasonable inferences in the light most favorable to the nonmoving

party, Connors v. Graves, 538 F.3d 373, 376 (Sth Cir. 2008), the nonmovant’s “burden will not
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be satisfied by some metaphysical doubt as to the material facts, by conclusory allegations, by
unsubstantiated assertions, or by only a scintilla of evidence.” Boudreaux, 402 F.3d at 540
(quoting Little, 37 F.3d at 1075). Similarly, “unsupported allegations or affidavit or deposition
testimony setting forth ultimate or conclusory facts and conclusions of law are insufficient to
defeat a motion for summary judgment.” Clark vy. Am’s Favorite Chicken, 110 F.3d 295, 297 (Sth
Cir. 1997); Bellard v. Gautreaux, 675 F.3d 454, 460 (Sth Cir. 2012).

In deciding a summary judgment motion, the district court does not make credibility
determinations or weigh evidence. Chevron Phillips, 570 F.3d 606, 612 n.3 (Sth Cir. 2009). Nor
does the court “sift through the record in search of evidence to support a party’s opposition to
summary judgment.” Jackson v. Cal-Western Packaging Corp., 602 F.3d 374, 379-80 (Sth Cir.
2010); Malacara v. Garber, 353 F.3d 393, 405 (Sth Cir. 2003); Ragas, 136 F.3d at 458. It is not
necessary “that the entire record in the case ... be searched and found bereft of a genuine issue of
material fact before summary judgment may be properly entered.” Nissho-Iwai American Corp.
v. Kline, 845 F.2d 1300, 1307 (Sth Cir.1988) Therefore, “[w]hen evidence exists in the summary
judgment record but the nonmovant fails even to refer to it in the response to the motion for
summary judgment, that evidence is not properly before the district court.” Malacara, 353 F.3d
at 405.

Ul.

Under Texas law, an insurer’s duty to defend an insured is determined by examining the
allegations in the petitions filed against the insured and the relevant insurance policy. Guideone
Elite Ins. Co. v. Fielder Road Baptist Church, 197 S.W.3d 305 (Tex. 2006); National Union Fire
Ins. Co. v. Merchs. Fast Motor Lines, Inc., 939 S.W.2d 139, 141 (Tex. 1997). This standard is

known as the “eight corners” rule. Merchs. Fast Motor Lines 939 S.W.2d at 141. When applying
 

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the eight corners rule, courts are to give the allegations in the petition a liberal interpretation in
favor of the insured. /d. Courts are to consider the allegations in light of the policy provisions
without reference to their validity and without reference to what the parties know or believe to be
the true facts. See Argonaut S.W.Ins. Co. v. Maupin, 500 S.W.2d 633, 635 (Tex. 1973). Under
the “eight corners” rule, the Court cannot read facts into the pleadings, look outside the
pleadings, or “imagine factual scenarios which might trigger coverage.” Merchs. Fast Motor
Lines, Inc., 939 S.W.2d at 142.
A.

Texas law provides a relevant exception to the application of the “eight corners” rule
when examining insurance policies. See Technical Automation Services Corp. v. Liberty Surplus
Ins. Corp., 673 F.3d 399, 408 (Sth Cir. 2012). “When a mutual mistake is alleged, the first task
of the court is not to apply, perfunctorily, the ‘eight corners’ rule and then directly proceed to
interpret the insurance policy. Instead, the first matter to address is whether the disputed
provision results from an agreement between the parties.” /d. (citing Williams v. Glash, 789
S.W.2d 261, 265 (Tex. 1990)). When the Court is determining whether a written contract is the
result of mutual mistake, the parole evidence rule does not apply. Technical Automation Services
Corp., 673 F.3d at 408 (citing Marcuz v. Marcuz, 857 S.W.2d 623, 627 (Tex. App.—Houston
[1st Dist.] 1993, no writ)). In such cases, extrinsic evidence will be admissible to show what the
real agreement is. /d.

A mutual mistake is “one common to both or all parties, wherein each labors under the
same misconception respecting a material fact, the terms of the agreement, or the provision of a

written agreement designed to embody such an agreement.” Simpson v. Curtis, 351 S.W.3d 374,
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378-379 (Tex. App.—Corpus Christi 2010, no pet.) (quoting Allen v. Berrey, 645 S.W.2d 550,
553 (Tex. App.—San Antonio 1982, writ ref'd n.r.e.).

Mutual mistake of fact is grounds for reformation of a written contract. Wright v.
Gernandt, 559 S.W.2d 864, 868 (Tex. App.—Corpus Christi 1977, no writ). “The underlying
objective of reformation is to correct a mutual mistake made in preparing a written instrument,
so that the instrument truly reflects the original agreement of the parties.” Cherokee Water Co. v.
Forderhause, 741 S.W.2d 377, 379 (Tex. 1987) (emphasis in original). The Court cannot make a
contract that the parties did not make, but instead an actual agreement formed between the
parties prior to drafting the instrument is required prior to reformation. /d.

The party seeking to reform a contract must show that: (1) the parties reached an
agreement on a material term, but (2) the written contract does not reflect the parties’ agreement
because of a mutual mistake. Thalman v. Martin, 635 S.W.2d 411, 413 (Tex. 1982). The party
seeking to reform a contract must establish the facts and circumstances warranting reformation
by clear and convincing evidence. Oldaker v. Travelers Ins. Co., 497 S.W.2d 402, 404 (Tex. Civ.
App.—El Paso 1973, no writ). Mutual mistakes are generally established from the facts and
circumstances surrounding the parties and the execution of the instrument. Simpson, 351 S.W.3d
at 379. “A scrivener’s error or typist’s failure to embody the parties’ true agreement in a written
instrument is such a mistake as to afford ground for reformation, if the mistake is a mutual
mistake.” Wright, 559 S.W2d at 868; see also Cornish v. Yarborough, 558 S.W.2d 28, 32 (Tex.
Civ. App.—Waco 1977, no writ) (scrivener’s failure to embody true agreement in written
instrument allows reformation for mutual mistake).

In its Motion for Summary Judgment, Canopius seeks to reform the Fourth Policy to

include the Assault and Battery Exclusion Endorsement that was allegedly agreed upon by the
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parties but was mistakenly absent in the First Policy and the three subsequent renewals because
of scrivener’s error. (Instrument No. 23 at 6). To reform the Fourth Policy, Canopius must show
by clear and convincing evidence that (1) Wyatt and Canopius reached an agreement on the
inclusion of the Exclusion in the First Policy and the three subsequent renewals, but (2) the
written First Policy and the three subsequent renewals, including the Fourth Policy, do not reflect
the parties’ agreement because of a mutual mistake. See Thalman, 635 S.W.2d at 413.

1.

To satisfy the first requirement for reformation, Canopius must show that Wyatt and
Canopius agreed that the First Policy and subsequent renewals would include the Assault or
Battery Exclusion. Canopius has provided evidence that it claims shows an agreement between
the parties to include the Exclusion in the First Policy and the three subsequent renewals. The
initial application for coverage submitted in 2009 by Wyatt’s insurance agent, Patriot Insurance
Agency, Inc. (“Patriot Insurance’), includes the Exclusion in the “Commercial General Liability
Section.” (Instrument No. 23-1 at 5). Canopius also alleges that all of the quotes and binders
issued by Canopius to Wyatt prior to the issuance of the four commercial insurance policies
included reference to the Exclusion. (Instrument No. 23 at 13). The quote and binder issued by
Canopius prior to issuing the First Policy include the Exclusion in the “Terms and Conditions”
sections, (Instrument Nos. 23-2 at 4; 23-3 at 4), as does the quote and binder for the Second
Policy. (Instrument Nos. 23-5 at 4; 23-6 at 4). Furthermore, the quote and binder for the Third
Policy and Fourth Policy likewise contain the Exclusion in the “Terms and Conditions” sections.

(Instrument Nos. 23-7 at 4; 23-8 at 4; 23-9 at 4; 23-10 at 4).

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Canopius further points to the testimony of Karen Morgan’ at Patriot Insurance as
evidence of the agreement between the parties to include the Exclusion in the First Policy. Karen
Morgan testified that Wyatt authorized her to act on his behalf to obtain and procure insurance
for him for the four policies in question. (Instrument No. 23-13 at 3). She also testified that she
discussed information contained in the quotes and binders with Wyatt prior to requesting to bind
the policy, and conveyed to Wyatt her understanding of what would and would not be covered in
the policy. (Instrument No. 23-13 at 12, 23, 27-28). Karen Morgan’s testimony indicates that she
believed the quotes and binders for the four policies in question (Instrument Nos. 23-2, 23-3, 23-
5, 23-6, 23-7, 23-8, 23-9) reflected the deal that was negotiated and agreed upon between
Canopius and Wyatt. (Instrument No. 23-13 at 11-12, 17, 22-23). She testified that she believed
that the Exclusion would be included in the First Policy, and all subsequent renewals thereafter,
as part of the deal she negotiated on behalf of Wyatt. (Instrument No. 23-13 at 14-15, 17, 22).
She specifically testified that she believed the Fourth Policy, covering the year when the
shooting in the Underlying Action occurred, would have included the Exclusion. (Instrument No.
23-13 at 21-22).

Karen Morgan further testified that, based on her experience, the Exclusion would
routinely be included in commercial policies issued to bars and taverns. (Instrument No. 23-13 at
10-11, 16-17). Canopius also points to an affidavit provided by the Vice President of
Underwriting for Canopius, who testified that Canopius’s underwriting guidelines require the
inclusion of an assault or battery exclusion endorsement for any commercial insurance policy for

a bar or tavern where liquor exceeds 30% of total sales. (Instrument No. 23-15 at 2). According

 

' Karen Morgan is also referred to as “Karen Murphy” in the Steward family’s Response (Instrument No. 25) and
“Carol” in Wyatt’s deposition (Instrument No. 23-12). However, none of the parties claim that more than one
woman at Patriot Insurance obtained insurance on Wyatt’s behalf, and the Court will interpret all references in the
record to “Karen Murphy” and “Caro!” to mean “Karen Morgan.”

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to the affidavit, because liquor exceeded 30% of total sales at Wyatt’s establishment when the
policies were issued, any commercial insurance policy issued by Canopius to Wyatt would have
included the Exclusion in order to comply with Canopius’s underwriting requirements.
(Instrument No. 23-15 at 3).

In response to Canopius’s Motion for Summary Judgment, the Steward family does not
contest the evidence provided by Canopius. (Instrument No. 25). Instead, they claim that Karen
Morgan acted as an agent for Canopius during her negotiations to secure general commercial
insurance for Wyatt, as opposed to Wyatt. (Instrument No. 25 at 7-8). In support of this
argument, the Steward family relies on Sections 4001.051 and 4001.052 of the Texas Insurance
Code, claiming that Karen Morgan performed acts for Canopius that qualifies her as the agent of
Canopius, not Wyatt. (Instrument No. 25 at 7).

The Steward family’s reliance on Sections 4001.051 and 4001.052 of the Texas Insurance
Code is misplaced. Section 4001.051 applies only “for purposes of the liabilities, duties,
requirements, and penalties provided by this title,” and primarily attributes liability for violations
of insurance code provisions, while Section 4001.052 designates any “person who solicits an
application for life, accident, or health insurance or property or casualty insurance” as an agent
for the insurer. Tex. Ins. Code. §§ 4001.051-52. These statutes generally concern actions
undertaken by insurance agents on behalf of insurers, such as examining risks or soliciting
insurance on behalf of the insurer. See Tex. Ins. Code §§ 4001.051-52. Courts have generally
applied Section 4001.051 in cases regarding code violations by insurers. See, e.g., Monumental
Life Ins. Co. v. Hayes-Jenkins, 403 F.3d 304, 317 n.23 (Sth Cir. 2005) (finding that a mortgage
lender that solicited insurance applications to its borrowers was the agent of the insurer in a case

involving DTPA, insurance code violations, and breach of contract); Penn-America Ins. Co. v.

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Zertuche, 770 F. Supp.2d 832, 841-42 (W.D. Tex. 2011) (finding that a commercial insurance
underwriter that received and processed premiums was the agent of the insurer in a case
involving DTPA and Texas Insurance Code claims). The Steward family has not shown why
Section 4001.051, generally applied in cases involving Texas Insurance Code violations, should
be applied when deciding Canopius’s duty to defend and indemnify negligence claims arising
out of a shooting. See (Instrument No. 1-7). Moreover, the Steward family has not explained how
identifying Karen Morgan as Canopius’s agent under Section 4001.051 or 4001.052 precludes
her from also being Wyatt’s agent. See Monumental Life, 403 F.3d at 314 (stating that an
insurance agent may be deemed to have acted as the agent of both the insured an insurer);
Maintain, Inc. v. Maxson-Mahoney-Turner, Inc., 698 S.W.2d 469, 472 (Tex. App.—Corpus
Christi 1985, writ ref'd n.r.e) (holding an “insurance agent can act as the agent of both the
insured and the insurer by collecting the premium and delivering the policy for the carrier, and
by procuring insurance for the insured”).

Furthermore, the Steward family fails to explain how Sections 4001.051 and 4001.052
apply to or provide any evidence supporting their application here. See (Instrument No. 25 at 7—
8). They provide no evidence that Karen Morgan performed any of the acts that might create an
agency relationship between Karen Morgan and Canopius under Section 4001.051. See
(Instrument No. 25 at 7-8). Specifically, they cite to no evidence that Karen Morgan “solicit[ed]
insurance on behalf of the insurer,” ‘“‘examine[d] or inspect{ed] a risk,” or “solicit[ed] an
application for . . . insurance” on behalf of Canopius. See Tex. Ins. Code §§ 4001.051-52;
(Instrument No. 25 at 7-8). Karen Morgan testified that she does not sell insurance for Canopius
and has no authority with that company. (Instrument No. 23-13 at 26). The record also suggests

that in her efforts to procure insurance for Wyatt, Karen Morgan might have contacted providers

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other than Canopius and its agent RSI. (Instrument No. 23-13 at 3). The Steward family cites to
no evidence that actually supports the allegation that Karen Morgan represented Canopius’s
interests in soliciting insurance while obtaining insurance for Wyatt. See (Instrument No. 25 at
6). Overall, the Steward family does not introduce any evidence to demonstrate that Sections
4001.051 and 4001.052 are factually relevant for creating an agency relationship between Karen
Morgan and Canopius. See (Instrument No. 25).

In fact, the evidence available at summary judgment demonstrates the opposite. The
record provides ample evidence showing an agency relationship between Karen Morgan and
Wyatt. (Instrument Nos. 23-12; 23-13). “An agent has actual authority to act for the principal
when the principal intentionally confers authority on the agent.” Ebner v. First State Bank, 27
S.W.3d 287, 300 (Tex. App.—Austin 2000, pet. denied). Wyatt testified that he hired Patriot
Insurance, and by extension its representative Karen Morgan, to obtain insurance for him.
(Instrument No. 23-12 at 13, 27). Wyatt’s testimony expressly states that he authorized Karen
Morgan to decide whether an assault and battery exclusion should or should not have been
included in the policy. (Instrument No. 23-12 at 26-27). Wyatt and Karen Morgan both
acknowledge that she was Wyatt’s agent. (Instruments Nos. 23-12 at 12-13, 23-24, 26-27; 3-4,
26-28). Karen Morgan testified that she was authorized by Wyatt to act on his behalf.
(Instrument No. 23-13 at 26). There is therefore sufficient evidence to establish that Karen
Morgan was Wyatt’s agent as a matter of law.

The Court finds that Canopius has shown by clear and convincing evidence that Canopius
and Wyatt, through Karen Morgan, agreed that the First Policy and subsequent three renewals
would include the Exclusion. Accordingly, Canopius has satisfied the first prong of the

requirements for reformation.

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2.

To satisfy the second requirement for reforming the Fourth Policy, Canopius must show
by clear and convincing evidence that the First Policy and the three subsequent renewals,
including the Fourth Policy that covers the period in the Underlying Action, do not reflect the
parties’ original agreement to include the Exclusion because of mutual mistake. A mutual
mistake is “one common to both or all parties, wherein each labors under the same
misconception respecting a material fact, the terms of the agreement, or the provision of a
written agreement designed to embody such an agreement.” Simpson, 351 S.W.3d at 378-379.
‘A scrivener’s error or typist’s failure to embody the parties’ true agreement in a written
instrument is such a mistake as to afford ground for reformation, if the mistake is a mutual
mistake.” Wright, 559 S.W2d at 868.

For evidence that the failure of the First Policy and the three subsequent renewals to
include the Exclusion was due to a mistake, Canopius provides an affidavit from a commercial
underwriter at RSI International, Canopius’s general managing agent. (Instrument No. 23-14).
The affidavit states that the four policies issued by Canopius to Wyatt did not include the
Exclusion because of a clerical error. (Instrument No. 23-14 at 3). Canopius also provides
testimony from Karen Morgan stating that she expected that the four policies issued to Wyatt by
Canopius would include the Exclusion. (Instrument No. 23-13 at 16-17). As the Court has
already established that Karen Morgan acted as Wyatt’s agent for the purposes of securing a
general commercial insurance policy, her knowledge and expectations of what the policy
contained can be imputed to Wyatt. See La Sara Grain Co. v. First Nat. Bank of Mercedes, 673
S.W.2d 558 at 563 (Tex. 1984) (holding that the knowledge obtained by an agent in the course of

the agent’s employment could be imputed to the principal); Poth v. Small, Craig, & Wekenthin,

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L.L.P., 967 S.W.2d 511, 515 (Tex. App.—Austin 1998, pet. denied) (holding that knowledge of
an agent may be imputed to the principal).

Because Canopius has provided clear and convincing evidence that both parties were
under the mistaken belief that the First Policy and three subsequent renewals contained the
Exclusion, the Court concludes that Canopius has satisfied the second prong of the requirements
for reformation of the Fourth Policy.

As Canopius has provided clear and convincing evidence satisfying both requirements of
the test for reformation, the Court GRANTS Canopius’s request to reform the Fourth Policy
(Instrument No. 23-11) to include the Assault or Battery Exclusion Endorsement (Instrument No.
23-16 at 2), hereinafter referred to as the “Reformed Fourth Policy.”

B.

Under the “eight corners” rule, Canopius’s duty to defend Wyatt is determined by
examining the allegations in the petition and the Reformed Fourth Policy. See Merchs. Fast
Motor Lines, 939 S.W.2d at 141. To establish a duty to defend, the pleadings must allege a claim
that is potentially covered by the policy. Fidelity & Guar. Ins. Underwriters v. McManus, 633
S.W.2d 787, 788 (Tex. 1982). Under Texas law, the insured party bears the initial burden of
showing that a claim is potentially within the scope of coverage. Great Amer. Ins. Co. v. Calli
Homes, Inc., 236 F.Supp. 2d 693, 697 (S.D. Tex. 2002). If the insurer relies on policy exclusions
in denying coverage, the burden is on the insurer to prove that one or more of the exclusions
apply. Jd. Once the insurer has proven that an exclusion applies, the burden shifts back to the
insured, who must show that the claim falls within an exception to the exclusion. See Federated

Mut. Ins. Co. v. Grapevine Excavation, Inc., 197 F.3d 720, 723 (Sth Cir. 1999).

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The interpretation of an insurance policy is a question of law for this Court. See New
York Life Ins. Co. v. Travelers Inc. Co., 92 F.3d 336, 338 (Sth Cir. 1996). Under Texas law, a
court shall apply the same rules of interpretation to insurance contracts as to contracts in general.
See id. The Court's primary concern in interpreting a contract is to “ascertain and to give effect
to the intentions of the parties as expressed in the instrument.” R & P Enters. v. LaGuarta,
Gavrel & Kirk, Inc., 596 S.W.2d 517, 518 (Tex. 1980). This effect can be achieved by reading
all parts of a contract together. State Farm Life Ins. Co. v. Beaston, 907 S.W.2d 430, 433 (Tex.
1995). Courts should be particularly wary of isolating one clause from its surroundings or
considering a clause, phrase, sentence, or section of a contract apart from other provisions. /d.;
see also Carrizales v. State Farm Lloyds, 518 F.3d 343, 346 (Sth Cir. 2008).

When terms are defined in an insurance contract, those definitions control. See Trinity
Universal Ins. Co. v. Cowan, 945 S.W.2d 819, 823 (Tex. 1997). When terms are not defined in
an insurance contract, they are to be given their plain, ordinary, and generally accepted meaning,
unless the contract indicates that the terms were used in a technical or different sense. See
Ramsay v. Maryland American General Ins. Co., 533 S.W.2d 344, 346 (Tex. 1976).

If the contract is worded so that it can be given only one reasonable construction, it is
enforced as written. See Nat’l Union Fire Ins. Co. v. Hudson Energy Co., 811 S.W.2d 552, 555
(Tex. 1991). But if an insurance contract is susceptible to more than one reasonable
interpretation, uncertainty must be resolved by adopting the construction that most favors the
insured party. Hudson, 811 S.W.2d at 555. The Court must adopt the construction of an
exclusionary clause urged by the insured party, so long as that construction is not unreasonable,
and regardless of whether or not the construction urged by the insurer appears to be more

reasonable or a more accurate reflection of the parties’ intent. See Glover v. Nat'l Ins.

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Underwriters, 545 S.W.2d 755, 761 (Tex. 1977). In other words, ambiguously worded
exceptions or limitations on liability shall be strictly construed against the insurer and in favor of
the insured. See Hudson, 811 S.W.2d at 555.

This rule applies, however, only if the terms of the contract are deemed to be ambiguous.
See Great Amer., 236 F. Supp. 2d at 690. Whether or not an insurance contract is ambiguous is a
question of law that the Court must decide. /d. The fact that the parties disagree as to coverage
does not create an ambiguity. /d. Extrinsic evidence is not admissible for the purpose of creating
an ambiguity. /d.; see also Forbau v. Aetna Life Ins. Co., 876 S.W.2d 132, 134 (Tex. 1994). If
the language of the insurance contract is subject to more than one reasonable interpretation, the
contract is ambiguous. See Glover, 545 S.W.2d at 761.

Here, Canopius argues that the “Assault and/or Battery” Exclusion applies to preclude
coverage for any aspect of the Steward family’s claims arising out of the September 2, 2012
shooting at Club ICU that forms the basis of the underlying action. (Instrument No. 23 at 14).
The “Assault and/or Battery” Exclusion excludes from coverage claims arising out of “assault
and/or battery, or out of any act or omission in connection with the prevention or suppression or
such acts.” (Instrument No. 23-16 at 2). The Exclusion further excludes from coverage “any
charges or allegations or negligent hiring, training, placement or supervision.” (Instrument No.
23-16 at 2). The Steward family does not specifically claim that the Exclusion, if included in the
policy, is inapplicable. See (Instrument No. 25).

In support of its position, Canopius cites to Garrison v. Fielding Reinsurance, Inc., 765
S.W.2d 536 (Tex. App.—Dallas 1989, writ denied). In Garrison, the underlying action against
the insured involved claims of negligence, failure to warn, and failure to properly inspect

property following a shooting death in the insured’s parking lot. Jd. at 537. The insurer brought a

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declaratory judgment action seeking judgment that it had no duty to defend or indemnify the
underlying action because the claims fell within the policy’s “assault and/or battery” exclusion.
Id. The exclusion at issue in Garrison stated that “this policy excludes claims arising out of
assault and battery, whether caused by or at the direction of, the insured, his/her employee,
patrons or any cause whatsoever.” Jd. In applying the “assault and/or battery” exclusion, the
court held that the exclusion covered all claims in the underlying action that arose out of the
shooting, because the claims would not have been brought absent the assault or battery. /d. at
538.

As in Garrison, the Underlying Action in this case involves negligence and failure to
warn claims arising out of a shooting death in the insured’s parking lot. See id. at 537;
(Instrument No. 1-7 at 3-4). Although the precise language of the “assault and/or battery”
exclusion in Griffin differs from the exclusion in the Reformed Fourth Policy, both exclusions
exclude coverage for claims arising out of assault or battery. See Garrison, 765 S.W.2d at 537;
(Instrument No. 23-16 at 2) (stating that “the coverage under this policy does not apply to any
claim, suit, cost or expense arising out of assault and/or battery”). Just as none of the claims in
the underlying lawsuit in Garrison would have been brought absent the shooting death, none of
the claims in the Underlying Action in this lawsuit would have been brought absent the shootings
in Club ICU’s parking lot. See Garrison, 765 S.W.2d at 538; (Instrument No. 1-7 at 3-4). The
Court finds that the Exclusion in the Reformed Fourth Policy covers all claims in the Underlying
Action. The Exclusion therefore precludes Canopius’s duty to defend against any claims in the
Underlying Action.

Accordingly. Canopius’s Motion for Summary Judgment on the duty to defend is

GRANTED.

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IV.

“In liability insurance policies generally, an insurer assumes both the duty to indemnify
the insured, that is, to pay all covered claims and judgments against an insured, and the duty to
defend.” D.R. Horton-Texas, Ltd. v. Markel Int'l Ins. Co., Ltd., 300 S.W.3d 740, 743-44 (Tex.
2009) (quoting 14 LEE R. Russ & THOMAS F. SEGALLA, COUCH ON INSURANCE § 200:3 (3d ed.
2009). However, the duty to defend and the duty to indemnify “are distinct and separate duties.”
Utica Nat'l Ins. Co. v. Am. Indem. Co., 141 S.W.3d 198, 203 (Tex. 2004). The Texas Supreme
Court “noted in Farmers Texas County Mutual Insurance Co. v. Griffin that one duty may exist
without the other.” Horton-Texas, 200 S.W.3d at 743 (citing Farmers Texas County Mut. Ins.
Co. v. Griffin, 955 S.W.2d 81, 82 (Tex. 1997)). “To that extent, the duties to defend and
indemnify enjoy a degree of independence from each other.” Horton-Texas, 300 S.W.3d at 744.

While analysis of the duty to defend has been strictly circumscribed by the eight-corners
doctrine, it is well settled in Texas that the “facts actually established in the underlying suit
control the duty to indemnify.” Pine Oak Builders, Inc. v. Great Am. Lloyds Ins. Co., 279 S.W.3d
650, 656 (Tex. 2009). “As with any other contract, breach or compliance with the terms of an
insurance policy is determined not by pleadings, but by proof.” Horton-Texas, 300 S.W.3d at
744.

Canopius claims that it has no duty to indemnify Wyatt for any settlement or judgment
awarded in the Underlying Action because the “Assault and/or Battery” Exclusion that negates
the duty to defend likewise negates any possibility that Canopius will have a duty to indemnify.
(Instrument No. 23 at 17). For support, Canopius cites to Griffin, in which an automobile liability
insurance company sought a declaratory judgment that it had no duty to defend or indemnify the

driver of a vehicle involved in a drive-by shooting. Griffin, 955 S.W.2d at 82. The relevant

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policy limited coverage to injury and property damage resulting from an auto accident. Jd. The
court found that the term “auto accident” referred only to situations in which one or more
vehicles are involved with another vehicle, person, or object, and therefore did not include drive-
by shootings. /d. at 83. The court therefore held that the claims fell outside the policy’s coverage
and the insurer had no duty to defend. Jd. Furthermore, because the plaintiff in the underlying
action could never plead facts that would transform the drive-by shooting into an auto accident,
the insurer likewise had no duty to indemnify. /d. at 84. In other words, “the same reasons that
negate the duty to defend likewise negate any possibility the insurer will ever have a duty to
indemnify.” Id. at 84 (emphasis in original).

The Court has already held that Canopius has no duty to defend the Underlying Action.
Just as the plaintiff in the underlying action in Griffin, the Steward family can never plead facts
in the Underlying Action that do not arise out of the September 2, 2012 shooting on Wyatt’s
property. The shooting constitutes a battery. See Garrison, 765 S.W.2d at 537. Because the
“Assault and/or Battery” Exclusion precludes insurance coverage for that incident, the Court
now finds that there is no possibility that Canopius will ever have a duty to indemnify Wyatt in
the Underlying Action.

Accordingly, the Court finds that Canopius has no duty to indemnify Wyatt in the
Underlying Action and GRANTS Canopius’s Motion for Summary Judgment on the duty to
indemnify.

V.

Canopius also claims that there is no duty to defend or indemnify because of a material

misrepresentation in Wyatt’s application for insurance. (Instrument No. 23 at 17). However,

because the Court has already determined that the “Assault and/or Battery” Exclusion in the

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Reformed Fourth Policy bars coverage, the Court need not decide whether the policies issued to
Wyatt are void ab initio due to material misrepresentation.
VL.

Based on the foregoing, IT IS HEREBY ORDERED THAT Plaintiff Canopius’s motion
for summary judgment (Instrument No. 23) is GRANTED. Judgment is entered in favor of
Plaintiff.

The Clerk shall enter this Order and provide a copy to all parties.

SIGNED on this the 3 Ay of September, 2014, at Houston, Texas.

 

UNITED STATES DISTRICT T JUDGE

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